Case 2:22-cv-02687-DSF-JEM Document 21. Filed 01/03/23 Page 1of3 Page ID #:108

 

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, state bar number, and address):
K TOM KOHAN (CA BAR NO. 225420)/KOHAN LAW FIRM

1310 WESTWOOD BLVD., 2ND FLOOR
LOS ANGELES, CA 90024

FOR COURT USE ONLY

TELEPHONE NO.: 310-349-1111 FAX NO.: 888-476-7010
ATTORNEY FOR (Name): COASTAL CORPORATION LTD.
NAME OF COURT: :
NWTED SAEs “Distaret cOuRT, CEMTRARL Dis7ey et

‘T AGDRESS: .
STREE 255 E. TEMPLE STREET oF CAM FaRnia

MAILING ADDRESS: 1 45 Angeles, CA 90012
CITY AND ZIP CODE:

BRANCH NAME: wes | ‘

 

 

PLAINTIFF: COASTAL CORPORATION LTD.

DEFENDANT: ss aRVEST KING TRADING USA, LIMITED

 

APPLICATION FOR CASE NUMBER:
RIGHT TO ATTACH ORDER __] TEMPORARY PROTECTIVE ORDER - 2:92-cv-02687-DSF-JEM
ORDER FOR ISSUANCE OF WRIT OF ATTACHMENT
ORDER FOR ISSUANCE OF ADDITIONAL WRIT OF ATTACHMENT

After Hearing ( Ex Parte
Against Property of Nonresident

 

 

 

COASTAL CORPORATION LTD.
1. Plaintiff (name):

applies | after hearing L) ex parte for
a. a right to attach order and writ of attachment.
b. an additional writ of attachment.
c Ola temporary protective order.
d. an order directing the defendant to transfer to the levying officer possession of
(1) C] property in defendant's possession. a ‘
(2) C] documentary evidence in defendant's possession of title to property.
(3) O documentary evidence in defendant's possession of debt owed to defendant.

, LIMITED, a Californi i
2. Defendant (name): HARVEST KING TRADING USA, LIMITED, a California corporation

a. (lis anatural person who
(1) [1 resides in California.
(2) J does not reside in California.
b. is a corporation
(1) qualified to do business in California.
(2) [7] not qualified to do business in California.
c. (lisa California partnership or other unincorporated association.
d. Lisa foreign partnership that
(1) CJ has filed a designation under Corporations Code section 15800.
(2) (7 has not filed a designation under Corporations Code section 15800.
e. Lisother (specify):

3. Attachment is sought to secure recovery on a claim upon which attachment may issue under Code of Civil Procedure section
483.010. ok

4. Attachment is not sought for a purpose other than the recovery on a claim upon which the attachment is based.

5. Plaintiff has no information or belief that the claim is discharged or the prosecution of the action is stayed in a proceeding under
Title 11 of the United States Code (Bankruptcy).

Page one of three

ev. Janua APPLICATION FOR RIGHT TO ATTACH ORDER, TEMPORARY Code of Civil Procedure,
(AT-105 (Rev. January 1, 2000)) PROTECTIVE ORDER, ETC. (Attachment) §§ 482.030, 484.010 et seq.

 
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SHORT TITLE: CASE:NUMBER:
COASTAL CORPORATION LTD. V. HARVEST KING TRADING USA, LIMITED 2:22-cV¥-02687-DSF-JEM

 

 

 

6. [2] Plaintiffs claim or claims arise out of conduct by the defendant who is a natural person of a trade, business, or profession. The
claim or claims are not based on the sale or lease of property, a license to use property, the furnishing of services, or the loan
of money where any of the foregoing was used by the defendant primarily for personal, family, or household purposes.

7. The facts showing plaintiff is entitled to a judgment on the claim on which the attachment is based are set forth with particularity
in the

a. [1 verified complaint.
b. (1 attached affidavit or declaration.
Cc. following facts (specify):

DECLARATIONS OF PAUL MORRIS AND G.V.V. Sathyanaraya CONCURRENTLY FILED HEREWITH

8. The amount to be secured by the attachment is: $141,706.60
a. LJ which includes estimated costs of: $
b. [] which includes estimated allowable attorney fees of: $

9. Plaintiff is informed and believes that the following property sought to be attached for which a method of levy is provided is subject
to attachment: ‘

a. Any property of a defendant who is not a natural person.
b. [J Any property of a nonresident defendant.

c Ci Property of a defendant who is a natural person that is subject to attachment under Code of Civil Procedure section
487.010 described as follows (specify):

a O Property covered by a bulk sales notice with respect to a bulk transfer by defendant on the proceeds of the sale of such
property (describe):

e. [1 Plaintiffs pro rata share of proceeds from an escrow in which defendant's liquor license is sold (specify license number):

10.. Plaintiff is informed and believes that the property sought to be attached is not exempt from attachment.

11. . [[] The court issued a Right to Attach Order on (date):
(Atiach a copy.)

12. [-] Nonresident defendant has not filed a general appearance.

 

APPLICATION FOR RIGHT TO ATTACH ORDER, TEMPORARY Page two of three
PROTECTIVE ORDER, ETC. (Attachment)

 
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SHORT TITLE: CASE NUMBER:
. COASTAL CORPORATION LTD. V. HARVEST KING TRADING USA, LIMITED 2:22-CV-02523-RSWL-PVC

 

 

 

13. a. Plaintiff alleges on ex parte application for order for writ of attachment
[J is informed and believes on application for temporary protective order

that plaintiff will suffer great or irreparable injury if the order is not issued before the matter can be heard on notice because

(1) (2) it may be inferred that there is a danger that the property sought to be attached will be
(a) (1 concealed.
(b) [2] substantially impaired in value.
(c) [1 made unavailable to levy by other than concealment or impairment in value.

(2) [1 defendant has failed to pay the debt underlying the requested attachment and is insolvent as defined in Code of Civil
Procedure section 485.010, subdivision (b)(2).

(3) (7 a bulk sales notice was recorded and published pursuant to Division 6 of the Commercial Code with respect to a bulk
transfer by the defendant.

(4) C an escrow has been opened under the provisions of Business and Professions Code section 24074 with respect to
the sale by the defendant.

(5) [7] other circumstances (specify):

b. The statements in item 13a are established by C) the attached affidavit or declaration
[1] the following facts (specify):

14. [] Plaintitt requests the following relief by temporary protective order (specify):

15. Plaintiff
a O has filed an undertaking in the amount of: $
b. has not filed an undertaking.

Date: 1/3/2023 L/h
JO TOMKOHAN occa ccc cucaccccucacucterncuees » é —

(TYPE OR PRINT NAME OF PLAINTIFF OR PLAINTIFF'S ATTORNEY) ASIGNATURE OF PLAINTUBE OR PLAINTIFF'S ATTORNEY)

 

DECLARATION

| declare under penalty of perjury that the foregoing is true and correct.

Date: 1/3/2023
K. TOM KOHAN . > f ZL :
were eee ene etna een eee eee beet eentennneas pf

(TYPE OR PRINT NAME) A SIGNATURE OF DECLARANT)

16. Number of pages attached: _°

 

APPLICATION FOR RIGHT TO ATTACH ORDER, TEMPORARY Page three of three
PROTECTIVE ORDER, ETC. (Attachment)

 
